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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

                                 Case No.: 1:19-CR-00018-ABJ


UNITED STATES OF AMERICA,

               Plaintiff,

v.

ROGER J. STONE, JR.,

            Defendant.
______________________________/


      REPLY TO GOVERNMENT’S RESPONSE TO ROGER STONE’S MOTION
                  REQUESTING A SHOW CAUSE ORDER

       The government minimizes the second paragraph of this Court’s Order regarding the

unsealing of the Court file, with a footnote. That footnote states: “Rather, the order conditioned

the unsealing of the indictment on one event: the defendant’s arrest. Once that condition was

satisfied at approximately 6:00AM on January 25, 2019, the indictment was no longer sealed for

the purposes of the Court’s order and was no longer covered by the secrecy provisions of Rule

6(e).” (emphasis added). This, of course, ignores the language of the Order:

               IT IS FURTHER ORDERED that the government shall inform the
               Court as soon as the defendant named in the Indictment is in
               custody so that the foregoing materials can be unsealed and entered
               on the public docket.

(emphasis added).

       The government’s argument presumes that it, not the Court holds the authority to unseal

the court file under Rule 6(e), and that the Clerk of Courts is also under its authority, and not the
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Court’s. The government also presumes it decides when the Court’s purpose has been met and

can release a draft of a document still under seal.

       The government drafted the motion to seal and provided the proposed order that the

Court adopted. (Cf. ECF No. 2-1, proposed order); with ECF No. 3, Order)). Presumably, the

government knew what conditions were required before it released an early draft of the

indictment since it drafted the proposed order. The government admits that it released a draft of

the indictment before the court file was unsealed. Roger Stone, therefore has created a prima

facie case of a Rule 6(e) violation. See Barry v. United States, 865 F.2d 1317, 1321 (D.C. Cir.

1989) (citations omitted).

                                          CONCLUSION

       Therefore, Roger Stone, by counsel, requests a show cause order directed to the Office of

the Special Counsel to show cause why contempt did not occur.

                                                  Respectfully submitted,
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                                CERTIFICATE OF SERVICE


       I HEREBY CERTIFY that on February 22, 2019, I electronically filed the foregoing with

the Clerk of Court using CM/ECF. I also certify that the foregoing is being served this day on all

counsel of record or pro se parties, via transmission of Notices of Electronic Filing generated by

CM/ECF.

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